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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

CREATIVE IMPACT INC:;

CREATIVE IMPACT (HONG KONG) LIMITED;
ZURU LLC; and

ZURU INC.,

Case No.: 19-cv-3077

Judge Charles R. Norgle
Plaintiffs,

V.

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

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Defendants.
PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs CREATIVE
IMPACT INC., CREATIVE IMPACT (HONG KONG) LIMITED, ZURU LLC, ZURU INC., hereby
dismiss with prejudice all causes of action in the complaint against the following Defendants identified in

Schedule A. Each party shall bear its own attorney’s fees and costs.

No. Defendant

53 aoa

143 Cheapesthandbag
302 Guisheng store
349 hyy store

445 lockes

45] Iqly1982

479 megababy

480 Megatop

643 SilverD-tech
772 Whmorning
830 Ymilong

853 zhaoyifeng
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The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.

Respectfully submitted,

Dated: November 20, 2019 By: — s/Michael A. Hier]
Michael A. Hierl (Bar No. 3128021)
William B. Kalbac (Bar No. 6301771)
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Attorneys for Plaintiffs

CREATIVE IMPACT INC.,

CREATIVE IMPACT (HONG KONG) LIMITED,
ZURU LLC,

ZURU INC.
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CERTIFICATE OF SERVICE

 

The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on November 20, 2019.

s/Michael A. Hierl

 
